
The CouRT refused to discharge the prisoner, but required surety, in one thousand dollars, for his good behavior for one year.
Cranch, J.,
contra. The commitment is illegal, and is not aided by the warrant for arrest. That warrant is not referred to in the commitment; but if it can be brought in aid of the commitment, yet it ought to have stated the names of the persons on whose testimony it was granted, and the nature of the testimony, that this court may know what kind of ill-fame it was, and whether the justices have exercised their discretion properly. The question is, what authority can the jailer show for detaining him? The commitment is his only authority; and that is, in my opinion, insufficient.
Judgment reversed in the Supreme Court, and prisoner discharged. (3 Cranch, 448.)
